                                       Schedule 1
                                       Disclosures

 INDIVIDUAL OR ENTITY RELATION TO DEBTOR              RELATIONSHIP TO
                                                      BURNS BAIR
 Jeff Anderson & Associates,   Counsel to Committee   Jeff Anderson & Associates,
 P.A.                          Member                 P.A. was co-counsel with
                                                      Burns Bair in the matter
                                                      captioned The Congregation
                                                      of Christian Brothers of
                                                      Hawaii, Inc. d/b/a/ Damien
                                                      Memorial School v. First
                                                      Insurance Company of
                                                      Hawaii, Ltd.
                                                      Civil No. 16-1-0164-01 (JPC),
                                                      pending in the Circuit Court
                                                      of the First Circuit, State of
                                                      Hawaii.

                                                      Jeff Anderson & Associates,
                                                      P.A. is currently co-counsel
                                                      with Burns Bair in the matter
                                                      captioned TIG Insurance
                                                      Company v. Missionary
                                                      Oblates of Mary Immaculate,
                                                      Civil No. 20-cv-02261,
                                                      pending in the US District
                                                      Court for the District of
                                                      Minnesota.

                                                      Jeff Anderson & Associates,
                                                      P.A. is also co-counsel with
                                                      Burns Bair on behalf certain
                                                      sexual abuse survivors who
                                                      have claims pending in the
                                                      bankruptcy of the Diocese of
                                                      Camden, New Jersey, Case
                                                      No. 20-21257, pending in the
                                                      US Bankruptcy Court for the
                                                      District of New Jersey.




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